                                  Case 16-22673-AJC                         Doc 10          Filed 09/29/16          Page 1 of 60




  Fill rn this rnfo rrnat1 o n t o 1dc nt1fy y o ur c ase

  Debtor 1                 Don Arcadio Sotto
                           First Name                        Middle Name                Last Narre

  Debtor 2
  (Spou se if, fling)      First Name                        Middle Name                Last Name


  United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

  Case number           16-22673-BKC-AJC
  (~known)                                                                                                                          D   Check if this is an
                                                                                                                                        amended filing



 Official Form 106Dec
 Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supply Ing correct lnfonnation.

You must file this fonn whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy case can result In fines up to $250,000, or Imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below


         Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy fonns?

         •      No

         D      Yes. Name of person                                                         Attach Bankruptcy Petition Preparer's Notice,
                                            - - - - - - - - - - - - - - - - - - - - - - - - Declaration, and Signature (Official Form 119)



                                                                     ad the summary and schedules flied with this declaration and
       that

                                                                                        x
                                                                                            Signature of Debtor 2


              Date        09/29/2016                                                        Date




Official Form 106Dec                                        Declaration About an Individual Debtor's Schedules
Software Copyrigtt (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                               Best Case Bar1<ruptcy
                                         Case 16-22673-AJC                          Doc 10              Filed 09/29/16                   Page 2 of 60
 Fill in this information to identify your case:

 Debtor 1                   Don Arcadio Sotto
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              31,098.33

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $              31,098.33

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $              49,887.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          1,596,314.17


                                                                                                                                     Your total liabilities $               1,646,201.17


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $              14,872.84

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 8,002.65

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                    Case 16-22673-AJC                 Doc 10        Filed 09/29/16            Page 3 of 60
 Debtor 1      Don Arcadio Sotto                                                          Case number (if known) 16-22673-BKC-AJC

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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                                          Case 16-22673-AJC                             Doc 10           Filed 09/29/16          Page 4 of 60
 Fill in this information to identify your case and this filing:

 Debtor 1                    Don Arcadio Sotto
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF FLORIDA

 Case number            16-22673-BKC-AJC                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        Marriott Ocean Pointe                                                         Single-family home                         Do not deduct secured claims or exemptions. Put
        71 South Ocean Avenue                                                                                                     the amount of any secured claims on Schedule D:
        Street address, if available, or other description
                                                                                      Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative


        Palm Beach                                                                    Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Shores                            FL        33404-0000                        Land                                       entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                                   Unknown                    Unknown
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only                              Tenancy by the Entirety
        Palm Beach                                                                    Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another        (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1         Don Arcadio Sotto                                                                                             Case number (if known)          16-22673-BKC-AJC

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        Marriott Royal Palms Condominum                                              Single-family home                              Do not deduct secured claims or exemptions. Put
        8404 Vacation Way                                                                                                             the amount of any secured claims on Schedule D:
        Unit 4384                                                                    Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
        Street address, if available, or other description                           Condominium or cooperative

                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        Orlando                           FL        32821-0000                       Land                                            entire property?              portion you own?
        City                              State              ZIP Code                Investment property                                        Unknown                       Unknown
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                     Debtor 1 only                                   Tenancy by the Entirety
        Orange                                                                       Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                     At least one of the debtors and another             (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:

                                                                             Unit 4384/ Week 41
                                                                             WK 41 UN 4384 ROYAL PALMS CONDO


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                                      $0.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         Honda                                                                                                          Do not deduct secured claims or exemptions. Put
                                                                        Who has an interest in the property? Check one
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        CRV                                              Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2014                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                        20200              Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                  $17,300.00                    $17,300.00
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                             $17,300.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                                Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.

Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 2
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                                    Case 16-22673-AJC                    Doc 10       Filed 09/29/16       Page 6 of 60
 Debtor 1       Don Arcadio Sotto                                                                   Case number (if known)     16-22673-BKC-AJC
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household Goods and Furnishings
                                    See Attachment
                                    Tenancy by the Entirety                                                                                      $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Electronics:
                                    Tenancy by the Entirety
                                    4 Televisions
                                    2 Iphones
                                    1 Desktop Computer
                                    1 Stereo
                                    1 Camera
                                    2 Ipads                                                                                                        $600.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
     Yes.     Describe.....

                                    Tenancy by the Entirety
                                    Treadmill (Broken)
                                    Rudolph Wurlitzer Piano                                                                                        $600.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Miscellanious Shoes and Clothing                                                                                   $0.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Wedding Ring
                                    High School Class Ring                                                                                         $500.00


Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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                                           Case 16-22673-AJC                                    Doc 10                Filed 09/29/16    Page 9 of 60
 Debtor 1          Don Arcadio Sotto                                                                                              Case number (if known)   16-22673-BKC-AJC

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

                                            Tenancy by the Entirety
                                            1 Weimaraner                                                                                                                    $100.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                                $6,800.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                       Cash                                 $100.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:
                                                                                                 Bank of America
                                                                                                 Don A. Sotto
                                                                                                 Ileana Perez Sotto
                                                                                                 Tenancy by the Entirety
                                              17.1.       Checking                               Account Ending 5426                                                      $4,128.80

                                                                                                 Regions Bank, N.A.
                                                                                                 Don A. Sotto
                                                                                                 David C. Sotto
                                              17.2.       Checking                               Account Ending 3321                                                            $0.00

                                                                                                 City National Bank, N.A.
                                                                                                 Don Arcadio Sotto
                                                                                                 Ileana Perez Sotto
                                                                                                 Tenancy by the Entirety
                                              17.3.       Checking                               Account Ending 9280                                                      $2,769.53


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.       Give specific information about them...................

Official Form 106A/B                                                                     Schedule A/B: Property                                                                 page 4
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                                     Case 16-22673-AJC                  Doc 10         Filed 09/29/16            Page 10 of 60
 Debtor 1        Don Arcadio Sotto                                                                          Case number (if known)      16-22673-BKC-AJC
                                          Name of entity:                                                    % of ownership:

                                          Medical Care Services, Inc.                                              50          %                       Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                        Type of account:                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

                                              Certified Respritory Therapist: License no. 5702-9186                                                          $0.00


 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

Official Form 106A/B                                                 Schedule A/B: Property                                                                  page 5
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                                      Case 16-22673-AJC                             Doc 10             Filed 09/29/16                    Page 11 of 60
 Debtor 1        Don Arcadio Sotto                                                                                               Case number (if known)        16-22673-BKC-AJC

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Americo Financial Life and Annuity
                                             Insurance Company
                                             Term Life Insurance                                                      Ileana P. Sotto                                               $0.00


                                             Fidelity & Guaranty Life Insurance
                                             Term Life Insurance                                                      Ileana P. Sotto                                               $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $6,998.33


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 6
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                                       Case 16-22673-AJC                                Doc 10              Filed 09/29/16                     Page 12 of 60
 Debtor 1         Don Arcadio Sotto                                                                                                     Case number (if known)   16-22673-BKC-AJC

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                           $17,300.00
 57. Part 3: Total personal and household items, line 15                                                       $6,800.00
 58. Part 4: Total financial assets, line 36                                                                   $6,998.33
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $31,098.33              Copy personal property total           $31,098.33

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $31,098.33




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 7
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                                   Case 16-22673-AJC                       Doc 10           Filed 09/29/16            Page 13 of 60
 Fill in this information to identify your case:

 Debtor 1                Don Arcadio Sotto
                         First Name                         Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      Marriott Ocean Pointe 71 South                                                                                             11 U.S.C. § 522(b)(3)(B)
      Ocean Avenue Palm Beach Shores,
                                                                      Unknown                                          100%
      FL 33404 Palm Beach County                                                         100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                            any applicable statutory limit

      Marriott Royal Palms Condominum                                                                                            11 U.S.C. § 522(b)(3)(B)
      8404 Vacation Way Unit 4384
                                                                      Unknown                                          100%
      Orlando, FL 32821 Orange County                                                    100% of fair market value, up to
      Unit 4384/ Week 41                                                                     any applicable statutory limit
      WK 41 UN 4384 ROYAL PALMS
      CONDO
      Line from Schedule A/B: 1.2

      2014 Honda CRV 20200 miles                                                                                                 Fla. Stat. Ann. § 222.25(1)
      Line from Schedule A/B: 3.1
                                                                     $17,300.00                                   $1,000.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Household Goods and Furnishings                                                                                            11 U.S.C. § 522(b)(3)(B)
      See Attachment
                                                                      $5,000.00                                        100%
      Tenancy by the Entirety                                                            100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                            any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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                                   Case 16-22673-AJC                       Doc 10         Filed 09/29/16            Page 14 of 60
 Debtor 1    Don Arcadio Sotto                                                                           Case number (if known)     16-22673-BKC-AJC
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Electronics:                                                                                                                 11 U.S.C. § 522(b)(3)(B)
     Tenancy by the Entirety
                                                                         $600.00                                     100%
     4 Televisions                                                                     100% of fair market value, up to
     2 Iphones                                                                             any applicable statutory limit
     1 Desktop Computer
     1 Stereo
     1 Camera
     2 Ipads
     Line from Schedule A/B: 7.1

     Tenancy by the Entirety                                                                                                      11 U.S.C. § 522(b)(3)(B)
     Treadmill (Broken)
                                                                         $600.00                                     100%
     Rudolph Wurlitzer Piano                                                           100% of fair market value, up to
     Line from Schedule A/B: 9.1                                                           any applicable statutory limit

     Miscellanious Shoes and Clothing                                                                                             Fla. Const. art. X, § 4(a)(2)
     Line from Schedule A/B: 11.1
                                                                            $0.00                                    100%
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wedding Ring                                                                                                                 Fla. Const. art. X, § 4(a)(2)
     High School Class Ring
                                                                         $500.00                                     100%
     Line from Schedule A/B: 12.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tenancy by the Entirety                                                                                                      11 U.S.C. § 522(b)(3)(B)
     1 Weimaraner
                                                                         $100.00                                     100%
     Line from Schedule A/B: 13.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                                                                         Fla. Stat. Ann. § 222.25(4)
     Line from Schedule A/B: 16.1
                                                                         $100.00                                     100%
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of America                                                                                                    11 U.S.C. § 522(b)(3)(B)
     Don A. Sotto
                                                                      $4,128.80                                      100%
     Ileana Perez Sotto                                                                100% of fair market value, up to
     Tenancy by the Entirety                                                               any applicable statutory limit
     Account Ending 5426
     Line from Schedule A/B: 17.1

     Checking: Regions Bank, N.A.                                                                                                 Fla. Const. art. X, § 4(a)(2)
     Don A. Sotto
                                                                            $0.00                                    100%
     David C. Sotto                                                                    100% of fair market value, up to
     Account Ending 3321                                                                   any applicable statutory limit
     Line from Schedule A/B: 17.2

     Checking: City National Bank, N.A.                                                                                           11 U.S.C. § 522(b)(3)(B)
     Don Arcadio Sotto
                                                                      $2,769.53                                      100%
     Ileana Perez Sotto                                                                100% of fair market value, up to
     Tenancy by the Entirety                                                               any applicable statutory limit
     Account Ending 9280
     Line from Schedule A/B: 17.3

     Medical Care Services, Inc.                                                                                                  Fla. Stat. Ann. § 222.25(4)
     50 % ownership
                                                                      Unknown                                        100%
     Line from Schedule A/B: 19.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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                                   Case 16-22673-AJC                       Doc 10         Filed 09/29/16            Page 15 of 60
 Debtor 1    Don Arcadio Sotto                                                                           Case number (if known)     16-22673-BKC-AJC
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Certified Respritory Therapist:                                                                                              Fla. Const. art. X, § 4(a)(2)
     License no. 5702-9186
                                                                            $0.00                                    100%
     Line from Schedule A/B: 27.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Americo Financial Life and Annuity                                                                                           Fla. Stat. Ann. § 222.14
     Insurance Company
                                                                            $0.00                                    100%
     Term Life Insurance                                                               100% of fair market value, up to
     Beneficiary: Ileana P. Sotto                                                          any applicable statutory limit
     Line from Schedule A/B: 31.1

     Fidelity & Guaranty Life Insurance                                                                                           Fla. Stat. Ann. § 222.14
     Term Life Insurance
                                                                            $0.00                                    100%
     Beneficiary: Ileana P. Sotto                                                      100% of fair market value, up to
     Line from Schedule A/B: 31.2                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                      Case 16-22673-AJC                     Doc 10           Filed 09/29/16              Page 18 of 60
 Fill in this information to identify your case:

 Debtor 1                   Don Arcadio Sotto
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     Marriot Vacation Club Intl               Describe the property that secures the claim:                   $6,746.00               Unknown             Unknown
         Creditor's Name
                                                  Marriott Ocean Pointe 71 South
                                                  Ocean Avenue Palm Beach Shores,
         P.O. Box 382028                          FL 33404 Palm Beach County
                                                  As of the date you file, the claim is: Check all that
         Pittsburgh, PA                           apply.
         15250-8028                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


 2.2     Suntrust Bank, N.A.                      Describe the property that secures the claim:                 $26,141.00               $17,300.00           $8,841.00
         Creditor's Name                          2014 Honda CRV 20200 miles

         P.O. Box 4000
                                                  As of the date you file, the claim is: Check all that
         Wilmington, OH                           apply.
         45177-4000                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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                                     Case 16-22673-AJC                       Doc 10           Filed 09/29/16             Page 19 of 60

 Debtor 1 Don Arcadio Sotto                                                                                Case number (if know)   16-22673-BKC-AJC
              First Name                  Middle Name                     Last Name


 2.3    U.S. Bank, N.A.                            Describe the property that secures the claim:                 $17,000.00           $331,705.00               $0.00
        Creditor's Name
                                                   MARIEN SUB PB 148-11 T-19063
                                                   LOT 8 BLK 3 LOT SIZE 5500 SQ FT
                                                   FAU 30-4903-005-0040-0042-0044
                                                   & 30-4910-003-0491 & 0492
                                                   OR 17628-3085 0497 1
                                                   COC 23737-1501 08 2005 1
                                                   As of the date you file, the claim is: Check all that
        4801 Frederica Street                      apply.
        Owensboro, KY 42301                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another  Judgment lien from a lawsuit
  Check if this claim relates to a         Other (including a right to offset)            Mortgage- 995 SW 143 Court, Miami, FL 33184
       community debt

 Date debt was incurred                                     Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $49,887.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $49,887.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                     Case 16-22673-AJC                         Doc 10           Filed 09/29/16                Page 20 of 60
 Fill in this information to identify your case:

 Debtor 1                   Don Arcadio Sotto
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
 2.1          Florida Dept. of Rev.                                  Last 4 digits of account number                          Unknown           Unknown               Unknown
              Priority Creditor's Name
              Bankruptcy Unit                                        When was the debt incurred?
              P.O. Box 6668
              Tallahassee, FL 32314-6668
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                      Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only
                                                                      Disputed
         Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt
        Is the claim subject to offset?
                                                                      Taxes and certain other debts you owe the government
                                                                      Claims for death or personal injury while you were intoxicated
         No
         Yes                                                         Other. Specify
                                                                                         Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 19
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 Debtor 1 Don Arcadio Sotto                                                                                  Case number (if know)           16-22673-BKC-AJC

 2.2        Internal Revenue Service                                 Last 4 digits of account number                         Unknown                Unknown                 Unknown
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                      Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only
                                                                      Disputed
         Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt
        Is the claim subject to offset?
                                                                      Taxes and certain other debts you owe the government
                                                                      Claims for death or personal injury while you were intoxicated
         No
         Yes                                                         Other. Specify
                                                                                         Taxes

 2.3        Miami-Dade Tax Collector                                 Last 4 digits of account number                         Unknown                Unknown                 Unknown
            Priority Creditor's Name
            Paralegal Unit                                           When was the debt incurred?
            140 West Flagler Street
            14th Floor
            Miami, FL 33130
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                      Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only
                                                                      Disputed
         Debtor 1 and Debtor 2 only
                                                                     Type of PRIORITY unsecured claim:
         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt
        Is the claim subject to offset?
                                                                      Taxes and certain other debts you owe the government
                                                                      Claims for death or personal injury while you were intoxicated
         No
         Yes                                                         Other. Specify
                                                                                         Business Tax

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 19
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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.1      Ally Financial                                             Last 4 digits of account number                                                     $11,492.00
          Nonpriority Creditor's Name
          P.O. Box 380901                                            When was the debt incurred?
          Minneapolis, MN 55438
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Auto Loan- Business Debt


 4.2      Banc of California, N.A.                                   Last 4 digits of account number                                                     $69,035.91
          Nonpriority Creditor's Name
          c/o Howard S. Toland, Esq.                                 When was the debt incurred?
          Mitrani, Rynor, Adamsky
          1200 Weston Road, Third Flr.
          Weston, FL 33326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty(Judgment / Miami-Dade
                                                                                          County Circuit Court
                                                                                          Case Nos. 2016-003311 CA 27 / 2015-01456
                                                                                          CA02)

                                                                                          Superior Court of California, County of
                                                                                          Orange
           Yes                                                       Other. Specify     Case No. 2016-00816046




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 19
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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.3      Bank of America                                            Last 4 digits of account number                                                       $6,611.00
          Nonpriority Creditor's Name
          Cash Rewards Visa Signature                                When was the debt incurred?
          P.O. Box 982238
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.4      Bank of America, N.A.                                      Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o Joseph A. Noa, Jr. Esq.                                When was the debt incurred?
          The NOA Law Firm, P.A.
          P.O. Box 941958
          Miami, FL 33194
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Garnishee (Pending Litigation / Miami-Dade
                                                                                          County Circuit Court
           Yes                                                       Other. Specify     Case No. 2016-008847 CA 09)

 4.5      Bank of America-Corporate                                  Last 4 digits of account number                                                       $7,881.03
          Nonpriority Creditor's Name
          P.O. Box 982238                                            When was the debt incurred?
          El Paso, TX 79998
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 19
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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.6      Bank of America-Visa Bus.                                  Last 4 digits of account number                                                           $56.75
          Nonpriority Creditor's Name
          P.O. Box 982238                                            When was the debt incurred?
          Wilmington, DE 19886-5796
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.7      Can Capital Asset Servicing                                Last 4 digits of account number                                                    $121,358.18
          Nonpriority Creditor's Name
          c/o Kurt E. Thalwitzer, Esq.                               When was the debt incurred?
          225 E. Robinson Street, #600
          P.O Box 2854
          Orlando, FL 32802
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty (Pending Litigation /
                                                                                          Miami-Dade County Circuit Court
           Yes                                                       Other. Specify     Case No. 2016-012115-CA 01)

 4.8      Capital One - Spark Visa                                   Last 4 digits of account number                                                       $2,095.40
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt- Business Expenses




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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.9      Capital One- Visa Platinum                                 Last 4 digits of account number                                                         $175.34
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 0        Capital One- Visa Platinum                                 Last 4 digits of account number                                                         $376.44
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 1        Capital One- Visa Platinum                                 Last 4 digits of account number                                                       $3,627.58
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt




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 4.1
 2        Capital One-Platinum Master                                Last 4 digits of account number                                                         $555.01
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 3        Capital One-Platinum Master                                Last 4 digits of account number                                                       $4,888.28
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 4        Capital One-Platinum Master                                Last 4 digits of account number                                                         $438.88
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt




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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.1
 5        Chase Card Member Services                                 Last 4 digits of account number                                                         $946.68
          Nonpriority Creditor's Name
          P.O. Box 15123                                             When was the debt incurred?
          Wilmington, DE 19850-5123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 6        Chase Card Member Services                                 Last 4 digits of account number                                                     $10,915.15
          Nonpriority Creditor's Name
          Blueprint                                                  When was the debt incurred?
          P.O. Box 15123
          Wilmington, DE 19850-5123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 7        Chase Card Member Services                                 Last 4 digits of account number                                                       $1,431.96
          Nonpriority Creditor's Name
          P.O. Box 15123                                             When was the debt incurred?
          Wilmington, DE 19850-5123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt




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 4.1
 8        Citi Cards / Citibank                                      Last 4 digits of account number                                                     $12,399.68
          Nonpriority Creditor's Name
          P.O. Box 6241                                              When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.1
 9        Financial Pacific Leasing                                  Last 4 digits of account number                                                     $49,287.49
          Nonpriority Creditor's Name
          3455 South 344 Way, #300                                   When was the debt incurred?
          Federal Way, WA 98001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty / Medical Equipment
           Yes                                                       Other. Specify     Lease

 4.2
 0        Ford Motor Credit                                          Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          P.O. Box 6508                                              When was the debt incurred?
          Mesa, AZ 85216-6508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Auto Loan- Business Debt




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 4.2
 1        Lease Corporation of America                               Last 4 digits of account number                                                    $160,858.49
          Nonpriority Creditor's Name
          c/o Thomas J. Maccari, Esq.                                When was the debt incurred?
          7700 Congress Avenue
          Suite 1133
          Boca Raton, FL 33487
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty
                                                                                          (Judgment / Miami-Dade County Circuit
                                                                                          Court
                                                                                          Case No. 2016-008847 CA 09)

                                                                                          Oakland County Circuit Court
           Yes                                                       Other. Specify     Case No. 2015-146965-CK

 4.2
 2        Lending Club Corp & LC Trust                               Last 4 digits of account number                                                     $20,366.42
          Nonpriority Creditor's Name
          c/o Vital Recovery Services                                When was the debt incurred?
          P.O. Box 923748
          Norcross, GA 30010-3748
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan




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 4.2
 3        Lionel Medina                                              Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          840 SW 94th Avenue                                         When was the debt incurred?
          Miami, FL 33174
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Defendant (Pending Litigation / Miami-Dade
                                                                                          County Circuit Court/ Case No.s
                                                                                          2016-012115 CA 09, 2016-008847 CA 09,
                                                                                          2016-08426 CA 06, 2016-003834 CA 22,
                                                                                          2016-003311 CA 27,2015-01456 CA 02,
                                                                                          2016-000444 CA 23, and 2015-014934 CA
           Yes                                                       Other. Specify     32)

 4.2
 4        Medical Care Services, Inc.                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o Lionel Medina                                          When was the debt incurred?
          as Registered Agent
          840 SW 94th Avenue
          Miami, FL 33174
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Defendant (Pending Litigation / Miami-Dade
                                                                                          County Circuit Court/ Case No.s
                                                                                          2016-012115 CA 09, 2016-008847 CA 09,
                                                                                          2016-08426 CA 06, 2016-003834 CA 22,
                                                                                          2016-003311 CA 27,2015-01456 CA 02,
                                                                                          2016-000444 CA 23, and 2015-014934 CA
           Yes                                                       Other. Specify     32)




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 4.2
 5        Merrick Bank                                               Last 4 digits of account number                                                             $0.00
          Nonpriority Creditor's Name
          P.O. Box 9201                                              When was the debt incurred?
          Old Bethpage, NY 11804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.2
 6        Phillips Medical Capital LLC                               Last 4 digits of account number                                                    $313,649.24
          Nonpriority Creditor's Name
          c/o Robert A. Solove, Esq.                                 When was the debt incurred?
          Solove Law Firm, P.A.
          12002 SW 128 Street, #201
          Miami, FL 33186
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty
                                                                                          (Judgment / Miami-Dade County Circuit
                                                                                          Court
                                                                                          Case No. 2016-08426 CA 06)

                                                                                          U.S. District Court, Eastern District of
                                                                                          Pennsylvania
           Yes                                                       Other. Specify     Case No. 2:15-cv-03361-NIQA




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 4.2
 7        Regions Bank, N.A.                                         Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          c/o Latasha Clark                                          When was the debt incurred?
          P.O. Box 830590
          Birmingham, AL 35283-0590
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty/(Pending Litigation/
                                                                                          Judgment / Miami-Dade County Circuit
                                                                                          Court
                                                                                          Case Nos. 2016-003311 CA 27 / 2015-01456
           Yes                                                       Other. Specify     CA02)

 4.2
 8        Regions Bank, N.A.                                         Last 4 digits of account number                                                       $8,903.35
          Nonpriority Creditor's Name
          Visa Business                                              When was the debt incurred?
          P.O. Box 11007
          Birmingham, AL 35246-3042
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt- Business Expenses


 4.2
 9        ResMed Inc.                                                Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          9001 Spectruc Center Blvd.                                 When was the debt incurred?
          San Diego, CA 92123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty / Medical Equipment
           Yes                                                       Other. Specify     Lease


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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.3
 0        State Farm Mutual Automobile                               Last 4 digits of account number                                                       Unknown
          Nonpriority Creditor's Name
          7401 Cypress Gardens Blvd                                  When was the debt incurred?
          Winter Haven, FL 33888-0007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Vehicle Insurance- 2014 Honda CRV


 4.3
 1        Susquehanna Comm. Finance                                  Last 4 digits of account number                                                     $68,994.44
          Nonpriority Creditor's Name
          c/o Eric B. Zwiebel, Esq.                                  When was the debt incurred?
          Emanual & Zwiebel PLLC
          7900 Peters Road, Suite B100
          Plantation, FL 33324
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty (Judgment / Miami-Dade
                                                                                          County Circuit Court
           Yes                                                       Other. Specify     Case No. 2016-000444 CA 23)

 4.3
 2        SYNCB/Sam's Club                                           Last 4 digits of account number                                                       $4,023.21
          Nonpriority Creditor's Name
          P.O. Box 965005                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt




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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.3
 3        Synchrony/Care Credit                                      Last 4 digits of account number                                                       $3,121.00
          Nonpriority Creditor's Name
          P.O. Box 965036                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card Debt


 4.3
 4        TBF Financial, LLC                                         Last 4 digits of account number                                                     $49,287.49
          Nonpriority Creditor's Name
          c/o Adam Boehm                                             When was the debt incurred?
          740 Waukegan Road
          Suite 404
          Deerfield, IL 60015
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty / Medical Equipment
           Yes                                                       Other. Specify     Lease




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 15 of 19
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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.3
 5        Univest Capital, Inc.                                      Last 4 digits of account number                                                     $90,053.72
          Nonpriority Creditor's Name
          c/o Smauel B. Fineman, Esq.                                When was the debt incurred?
          Five Greentree Center, #302
          52 Route 73 North
          Marlton, NJ 08053
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty ( Judgment / Eleventh
                                                                                          Judicial Circuit In and For Miami-Dade
                                                                                          County, Florida
           Yes                                                       Other. Specify     Case No. 2016-003834 CA 22)

 4.3
 6        VGM Financial Services                                     Last 4 digits of account number                                                     $71,156.00
          Nonpriority Creditor's Name
          c/o Christopher S. Wendland                                When was the debt incurred?
          315 East 5 Street
          P.O. Box 596
          Waterloo, IA 50704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a     community                Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty (Pending Litigation/
                                                                                          Iowa District Court for Black Hawk County /
           Yes                                                       Other. Specify     Case No. LACV 127359)




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 Debtor 1 Don Arcadio Sotto                                                                               Case number (if know)        16-22673-BKC-AJC

 4.3
 7         Wells Fargo Equip. Finance                                Last 4 digits of account number                                                           $502,328.05
           Nonpriority Creditor's Name
           a div. of Wells Fargo Bank                                When was the debt incurred?
           c/o Ronald Emanuel
           7900 Peters Road, #B-100
           Plantation, FL 33324
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a    community                Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Personal Guaranty (Judgment / Miami-Dade
                                                                                          County Circuit Court
            Yes                                                      Other. Specify     Case No. 2015-014934 CA 32)

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Banc of California, N.A.                                      Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 1920 Main Street, Suite 1140                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Irvine, CA 92614
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.9 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.10 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.11 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.12 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 17 of 19
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 Debtor 1 Don Arcadio Sotto                                                                                Case number (if know)         16-22673-BKC-AJC
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA, N.A.                                    Line 4.14 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 30281                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank USA, N.A.                                          Line 4.15 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15298                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank USA, N.A.                                          Line 4.16 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15298                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank USA, N.A.                                          Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 15298                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ford Motor Credit                                             Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 542000                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Omaha, NE 68154
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.2 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 21126                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19114
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lease Corporation of America                                  Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3150 Livernois Road                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 300
 Troy, MI 48083
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lease Corporation of America                                  Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 c/o Robert S. Ajlouny, Esq.                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 370 E. Maple Road
 Suite 230
 Birmingham, MI 48009
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lending CLub Corporation                                      Line 4.22 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 71 Stevenson 300                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 San Francisco, CA 94105
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Miami-Dade Tax Collector                                      Line 2.3 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 200 NW 2nd Avenue                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Miami, FL 33128
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Philips Medical Captial LLC                                   Line 4.26 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1111 Old Eagle School Road                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wayne, PA 19087
                                                               Last 4 digits of account number


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 18 of 19
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 Debtor 1 Don Arcadio Sotto                                                                                Case number (if know)        16-22673-BKC-AJC

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Regions Bank, N.A.                                            Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 2224                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Birmingham, AL 35246
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Susquehanna Comm. Finance                                     Line 4.31 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 2 Country View Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 300
 Malvern, PA 19355
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Susquehanna Comm. Finance                                     Line 4.31 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 26 North Cedar Street                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Lititz, PA 17543
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Univest Capital, Inc.                                         Line 4.35 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3331 Street Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 325
 2 Greenwood Square
 Bensalem, PA 19020-1329
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 VGM Financial Services                                        Line 4.36 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 1111 West San Marnan Drive                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Waterloo, IA 50701-8926
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wells Fargo Equip. Finance                                    Line 4.37 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 a div. of Wells Fargo Bank                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 300 Tri-State International
 Suite 400
 Lincolnshire, IL 60069
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                         0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                         0.00

                                                                                                                               Total Claim
                        6f.   Student loans                                                                 6f.       $                         0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $              1,596,314.17

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $              1,596,314.17



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 19 of 19
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 Fill in this information to identify your case:

 Debtor 1                 Don Arcadio Sotto
                          First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.          You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.2
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.3
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.4
           Name


           Number       Street

           City                                    State                   ZIP Code
  2.5
           Name


           Number       Street

           City                                    State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Don Arcadio Sotto
                            First Name                           Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name            Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                               Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Ileana P. Sotto                                                                         Schedule D, line     2.1
                955 SW 143 Court                                                                        Schedule E/F, line
                Miami, FL 33184
                                                                                                        Schedule G
                                                                                                       Marriot Vacation Club Intl



    3.2         Ileana P. Sotto                                                                         Schedule D, line     2.3
                955 SW 143 Court                                                                        Schedule E/F, line
                Miami, FL 33184
                                                                                                        Schedule G
                                                                                                       U.S. Bank, N.A.



    3.3         Ileana P. Sotto                                                                         Schedule D, line
                955 SW 143 Court                                                                        Schedule E/F, line    4.33
                Miami, FL 33184
                                                                                                        Schedule G
                                                                                                       Synchrony/Care Credit




Official Form 106H                                                                 Schedule H: Your Codebtors                                   Page 1 of 6
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 Debtor 1 Don Arcadio Sotto                                                             Case number (if known)   16-22673-BKC-AJC


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.4      Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.35
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Univest Capital, Inc.



    3.5      Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.2
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Banc of California, N.A.



    3.6      Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.31
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Susquehanna Comm. Finance



    3.7      Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.27
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Regions Bank, N.A.



    3.8      Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.21
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Lease Corporation of America



    3.9      Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.26
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Phillips Medical Capital LLC



    3.10     Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.37
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Wells Fargo Equip. Finance




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 2 of 6
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 Debtor 1 Don Arcadio Sotto                                                             Case number (if known)   16-22673-BKC-AJC


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.11     Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.36
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             VGM Financial Services



    3.12     Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.4
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Bank of America, N.A.



    3.13     Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.19
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             Financial Pacific Leasing



    3.14     Lionel Medina                                                                    Schedule D, line
             840 SW 94th Avenue                                                               Schedule E/F, line      4.29
             Miami, FL 33174
                                                                                              Schedule G
                                                                                             ResMed Inc.



    3.15     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.35
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Univest Capital, Inc.
             Miami, FL 33174




    3.16     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.7
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Can Capital Asset Servicing
             Miami, FL 33174




    3.17     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.21
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Lease Corporation of America
             Miami, FL 33174




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 3 of 6
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 Debtor 1 Don Arcadio Sotto                                                             Case number (if known)   16-22673-BKC-AJC


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.18     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.26
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Phillips Medical Capital LLC
             Miami, FL 33174




    3.19     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.2
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Banc of California, N.A.
             Miami, FL 33174




    3.20     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.31
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Susquehanna Comm. Finance
             Miami, FL 33174




    3.21     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.37
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Wells Fargo Equip. Finance
             Miami, FL 33174




    3.22     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.27
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Regions Bank, N.A.
             Miami, FL 33174




    3.23     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.36
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             VGM Financial Services
             Miami, FL 33174




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 4 of 6
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 Debtor 1 Don Arcadio Sotto                                                             Case number (if known)   16-22673-BKC-AJC


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.24     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.4
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Bank of America, N.A.
             Miami, FL 33174




    3.25     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.19
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Financial Pacific Leasing
             Miami, FL 33174




    3.26     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.34
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             TBF Financial, LLC
             Miami, FL 33174




    3.27     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.28
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Regions Bank, N.A.
             Miami, FL 33174




    3.28     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.29
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             ResMed Inc.
             Miami, FL 33174




    3.29     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.1
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Ally Financial
             Miami, FL 33174




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 5 of 6
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 Debtor 1 Don Arcadio Sotto                                                             Case number (if known)   16-22673-BKC-AJC


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.30     Medical Care Services, Inc.                                                      Schedule D, line
             c/o Lionel Medina                                                                Schedule E/F, line      4.20
             as Registered Agent
                                                                                              Schedule G
             840 SW 94th Avenue
                                                                                             Ford Motor Credit
             Miami, FL 33174




Official Form 106H                                                       Schedule H: Your Codebtors                                 Page 6 of 6
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Fill in this information to identify your case:

Debtor 1                      Don Arcadio Sotto

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number               16-22673-BKC-AJC                                                               Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                               Not employed
       employers.
                                             Occupation             Clinical Sleep Educator, C.R.T.             Clinical Pharmacist
       Include part-time, seasonal, or
       self-employed work.                                          Med-Care Infusion Services,
                                             Employer's name        Inc.                                        Miami Children's Health System
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                    3085 West 80 Street                         3100 SW 62nd Avenue
                                                                    Hialeah, FL 33018                           Miami, FL 33155-3009

                                             How long employed there?          2 Months                                  16 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         6,933.33        $         13,216.99

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      6,933.33               $   13,216.99




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
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Debtor 1    Don Arcadio Sotto                                                                     Case number (if known)    16-22673-BKC-AJC


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      6,933.33       $        13,216.99

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,336.83       $        3,554.55
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $            0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $            0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $            0.00
      5e.   Insurance                                                                      5e.        $          0.00       $          386.10
      5f.   Domestic support obligations                                                   5f.        $          0.00       $            0.00
      5g.   Union dues                                                                     5g.        $          0.00       $            0.00
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $            0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,336.83       $        3,940.65
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,596.50       $        9,276.34
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
      8e. Social Security                                                                  8e.        $              0.00   $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              5,596.50 + $       9,276.34 = $          14,872.84
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $          14,872.84
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                Don Arcadio Sotto                                                                  Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                             MM / DD / YYYY

Case number           16-22673-BKC-AJC
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to        Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2               age            live with you?

      Do not state the                                                                                                                No
      dependents names.                                                                                                               Yes
                                                                                                                                      No
                                                                                                                                      Yes
                                                                                                                                      No
                                                                                                                                      Yes
                                                                                                                                      No
                                                                                                                                      Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                     Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                          1,600.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.     $                        389.29
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.     $                        410.71
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.     $                          0.00
      4d. Homeowner’s association or condominium dues                                                     4d.     $                          0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.     $                          0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                        page 1
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Debtor 1     Don Arcadio Sotto                                                                         Case number (if known)      16-22673-BKC-AJC

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 140.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 114.00
      6d. Other. Specify: Cable                                                              6d. $                                                 156.00
7.    Food and housekeeping supplies                                                           7. $                                                400.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 80.00
10.   Personal care products and services                                                    10. $                                                 100.00
11.   Medical and dental expenses                                                            11. $                                                 500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                  0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  0.00
14.   Charitable contributions and religious donations                                       14. $                                              1,200.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  492.00
      15b. Health insurance                                                                15b. $                                                  178.38
      15c. Vehicle insurance                                                               15c. $                                                  322.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  453.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  687.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                  180.27
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                  200.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:                                                                        21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,002.65
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,002.65
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              14,872.84
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,002.65

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              6,870.19

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here: New Roof and Termite Extermination




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                  Don Arcadio Sotto
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number           16-22673-BKC-AJC
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                               Dates Debtor 2
                                                                lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                        $24,800.00          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                    Operating a business                                           Operating a business




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 Debtor 1      Don Arcadio Sotto                                                                           Case number (if known)   16-22673-BKC-AJC


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                       $111,300.00          Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                        $93,645.00          Wages, commissions,
 (January 1 to December 31, 2014 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                        No.       Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

       No
           Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name
       Ileana P. Sotto                                          04/04/2016                      $7,000.00                 $0.00      Payment of Mortgage on
       955 SW 143 Court                                                                                                              Homestead Property
       Miami, FL 33184

       Ileana P. Sotto                                          03/16/2016                      $8,000.00                 $0.00      Payment of Mortgage on
       955 SW 143 Court                                                                                                              Homestead Property
       Miami, FL 33184


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       See Attachment                                                                                                                 Pending
                                                                                                                                      On appeal
                                                                                                                                      Concluded


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken




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                                                 DEBTOR: DON ARCADIO SOTTO
                                                 CASE NO. 16-22673-BKC-AJC

                                         PART 3: LEGAL ACTIONS OR ASSIGNMENTS

        CASE TITLE AND NUMBER                    NATURE OF            COURT OR AGENCY’S NAME AND ADDRESS                     STATUS OF
                                                      CASE                                                                     CASE
Can Capital Asset Servicing, Inc. f/k/a         Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and    Pending
Newlogic Business Loans, Inc. v. Medical Care                     for Miami-Dade County, Florida
Services, Inc., Don Sotto a/k/a Don Arcadio
Sotto                                                             Miami-Dade County Courthouse
                                                                  73 West Flagler Street
Case No. 2016-012115 CA 09                                        Miami, FL 33130

Lease Corporation of America v. Medical         Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and    Closed
Care Services, Inc., Don Arcadio Sotto and                        for Miami-Dade County, Florida
Lionel Medina
                                                                  Miami-Dade County Courthouse
Case No. 2016-008847 CA 09                                        73 West Flagler Street
                                                                  Miami, FL 33130
Case No. 2015-146965-CK

                                                                  Circuit Court for the Sixth Judicial Circuit, in and for
                                                                  Oakland County, Michigan

                                                                  Oakland County Circuit & Probate Court
                                                                  1200 North Telegraph Road
                                                                  Pontiac, MI 48341-0404

Philips Medical Capital, LLC v. Medical         Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and    Closed
Care Services, Inc., Don Sotto a/k/a Don A.                       for Miami-Dade County, Florida
Sotto, and Lionel Medina
                                                                  Miami-Dade County Courthouse
Case No. 2016-08426 CA 06                                         73 West Flagler Street
                                                                  Miami, FL 33130
Case No. 2:15-cv-03361-NIQA

                                                                  United States District Court for the Eastern District of
                                                                  Pennsylvania

                                                                  James A. Byrne U.S. Courthouse
                                                                  601 Market Street
                                                                  Philadelphia, PA 19106

Univest Capital, Inc. v. Medical Care           Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and    Closed
Services, Don A. Sotto, and Lionel A.                             for Miami-Dade County, Florida
Medina
                                                                  Miami-Dade County Courthouse
                                                                  73 West Flagler Street
Case No. 2016-003834 CA 22                                        Miami, FL 33130
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        CASE TITLE AND NUMBER                   NATURE OF            COURT OR AGENCY’S NAME AND ADDRESS                    STATUS OF
                                                     CASE                                                                     CASE
Banc of California v. Medical Care Services,   Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and   Closed
Inc., Lionel Medina, and Don Sotto a/k/a                         for Miami-Dade County, Florida
Don Sotto
                                                                 Miami-Dade County Courthouse
                                                                 73 West Flagler Street
Case No. 2016-003311 CA 27                                       Miami, FL 33130
Case No. 2015-01456 CA02
                                                                 Superior Court of California, County of Orange
Case No. 2016-00816046                                           Central

                                                                 Orange County Superior Court-Central Justice Center
                                                                 700 Civic Center Drive West
                                                                 Santa Ana, CA 92701-4045
Susquehanna Commercial Finance, Inc. v.        Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and   Closed
Medical Care Services, Inc., Don Sotto, and                      for Miami-Dade County, Florida
Lionel Medina
                                                                 Miami-Dade County Courthouse
Case No. 2016-000444 CA 23                                       73 West Flagler Street
                                                                 Miami, FL 33130

Wells Fargo Equipment Finance v. Medical       Civil Action      Circuit Court for the Eleventh Judicial Circuit, in and   Closed
Care Services, Inc., Lionel Medina, and Don                      for Miami-Dade County, Florida
Sotto a/k/a Don A. Sotto
                                                                 Miami-Dade County Courthouse
Case No. 2015-014934 CA 32                                       73 West Flagler Street
                                                                 Miami, FL 33130

VGM Financial Services v. Medical Care         Civil Action      Iowa District Court for Black Hawk County                 Pending
Services, Lionel Medina, and Don Sotto
                                                                 Black Hawk County Courthouse
Case No. LACV 127359                                             316 E 5th Street, Room 208
                                                                 Waterloo, IA 50703
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12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Jordan Montes                                                 Jordan Montes ITF Minor Child                            11/2015 and             $1,000.00
       10629 Hammocks Boulevard                                                                                               12/2015
       # 634
       Miami, FL 33196

       Person's relationship to you: Grandson


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
     No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                     Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Child Fund International                                      Monetary Contribution                                    2015                    $1,212.00
       P.O. Box 26507
       Richmond, VA 23261-6507

       Child Fund International                                      Monetary Contribution                                    2014                    $1,280.50
       P.O. Box 26507
       Richmond, VA 23261-6507

       Compassion International                                      Monetary Contribution                                    2014                    $1,178.00
       12290 Voyager Parkway
       Colorado Springs, CO 80997

       Compassion International                                      Monetary Contribution                                    2015                    $1,058.00
       12290 Voyager Parkway
       Colorado Springs, CO 80997

       World Vision                                                  Monetary Contribution                                    2014                      $950.00
       P.O. Box 70399
       Tacoma, WA 98481-0399

       World Vision                                                  Monetary Contribution                                    2015                    $1,306.00
       P.O. Box 70399
       Tacoma, WA 98481-0399

       Food For The Poor, Inc.                                       Monetary Contribution                                    2014                      $480.00
       6401 Lyons Road
       Coconut Creek, FL 33073




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       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Food For The Poor, Inc.                                       Monetary Contribution                                    2015                       $480.00
       6401 Lyons Road
       Coconut Creek, FL 33073


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Salazar Jackson, LLP                                          Professional Fees                                        08/12/2016               $5,000.00
       2000 Ponce De Leon Boulevard
       Penthouse
       Coral Gables, FL 33134
       www.SalazarJackson.com


       Abacus Credit Counseling                                      Credit Counseling Services                               09/06/2016                   $25.00
       15760 Ventura Boulevard
       Suite 700
       Encino, CA 91436
       http://www.abacuscc.org


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or      Date transfer was
       Address                                                       property transferred                       payments received or debts    made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                        Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was           Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Medical Care Services, Inc.                              Medical Supply Company                               EIN:       XX-XXXXXXX
       7290 SW 42 Terrace
       Miami, FL 33155                                          H&L Tax Accounting Services                          From-To    06/12/1989 to Present




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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

       No
           Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

       Wells Fargo Bank, N.A.                                   11/02/2015
       300 Tri-State International
       Suite 400
       Lincolnshire, IL 60069




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  Fill   in   thi s 1nfo rm a t1 o n t o 1dc nt1fy you r case

  Debtor 1                    Don Arcadio Sotto
                              First Name                        Middle Name                 Last Narre

  Debtor 2
  (Spouse if, filing)         First Name                        Middle Name                 Last Name


  United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

  Case number            16-22673-BKC-AJC
  (if known )                                                                                                                        D   Check if this is an
                                                                                                                                         amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                             4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
infonnation. If more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case
number (If known). Answer every question.

l@lfW Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct I unders              ng a false statement, concealing property, or obtaining money or property by fraud in connection
with                                   su       $250,000, or Imprisonment for up to 20 years, or both.
18 u..c. §§ 152,


                                                                              Signature of Debtor 2


 Date           09/29/2016                                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
    No
•Yes

Did you pay or agree to pay someone who Is not an attorney to help you fill out bankruptcy forms?
•No
D Yes. Name of Person _ _ . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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